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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DUSTIN PATINO, individually and on behalf
of all others similarly situated,
                    Plaintiff,

v.
                                                       Civil Action No. 3:16-cv-1104
LIGHTNING OILFIELD SERVICES, INC.
and MARK S. WADDELL,
             Defendants.



                           PLAINTIFF’S ORIGINAL COMPLAINT

        Plaintiff Dustin Patino, individually and on behalf of all others similarly situated, files

 this Original Complaint and states:

                                   I.     NATURE OF SUIT

        1.      This is a collective action brought pursuant to the Fair Labor Standards Act

 (“FLSA”), 29 U.S.C. §§ 201, et seq. Plaintiff worked for Defendants as safety

 advisor/coordinator and his primary responsibilities included performing general safety-related

 tasks for management, documenting accident scenes, and presenting training classes developed

 by others. Plaintiff routinely worked in excess of 40 hours per week but was not paid overtime

 for any of the hours worked in excess of 40. Instead, Plaintiff was misclassified as exempt from

 the FLSA and paid primarily on a salaried basis that did not provide overtime pay for these

 overtime hours worked.




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                                        II.    PARTIES

        2.     Plaintiff Dustin Patino is an individual who resides in this Judicial District and

was employed by Defendants within the meaning of the FLSA. His consent to join this lawsuit is

attached as “Exhibit A.”

        3.     The Plaintiff and Class Members are Defendants’ current and former employees

whose primary responsibilities included performing general safety-related tasks for management,

documenting accident scenes, and presenting training classes developed by others. This includes

Defendants’ Safety Advisors, Safety Consultants, and individuals working under other titles

performing similar duties who were also paid primarily on a salaried basis.

        4.     Defendant Lightning Oilfield Services, Inc. is a Texas corporation who may be

served with process through its registered agent, Mark S. Waddell, wherever he may be found.

        5.     Defendant Mark S. Waddell is an individual who may be served with process

wherever he may be found.

                             III.   JURISDICTION AND VENUE

        6.     This Court has jurisdiction over the claim because Plaintiff has asserted a claim

arising under federal law.

        7.     Venue is proper in the Northern District of Texas because the events forming the

basis of the suit occurred in this District and because one or more of the Parties reside in this

District.

                                      IV.     COVERAGE

        8.     At all material times, Lightning Oilfield Services, Inc. and Mark S. Waddell

(“Defendants”) have acted, directly or indirectly, in the interest of an employer or joint employer

with respect to Plaintiff and the Class Members.



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       9.      At all times hereinafter mentioned, Defendants have been employers or joint

employers within the meaning of the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

       10.     At all times hereinafter mentioned, Defendants have been an enterprise within the

meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

       11.     At all times hereinafter mentioned, Defendants have been an enterprise engaged

in commerce or in the production of goods for commerce within the meaning of Section 3(s)(1)

of the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had employees engaged in

commerce or in the production of goods for commerce, or employees handling, selling, or

otherwise working on goods or materials that have been moved in or produced for commerce by

any person and in that said enterprise has and has had an annual gross volume of sales made or

business done of not less than $500,000.00 (exclusive of excise taxes at the retail level that are

separately stated).

       12.     At all times hereinafter mentioned, Plaintiff and Class Members were individual

employees who were engaged in commerce or in the production of goods for commerce as

required by 29 U.S.C. §§ 206-207.

                          V.     FLSA FACTUAL ALLEGATIONS

       13.     Defendants have had business operations in Texas and their annual gross volume

of sales made or business done exceeds $500,000.00 per year.

       14.     Plaintiff Dustin Patino worked as a safety coordinator/advisor for Defendants

within the last three years and from approximately September 15, 2015 to March 5, 2015.

       15.     In this capacity, Plaintiff’s primary duties included performing general safety

related tasks for management, documenting accident scenes, and presenting training classes

developed by others. Plaintiff’s job duties were routine and rote, he did not manage any



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employees or have the power to hire or fire, or exercise any independent judgment in carrying

out his job duties.

        16.     In this capacity, Plaintiff handled materials in interstate commerce.

        17.     Plaintiff routinely worked over 40 hours per week. In fact, he worked as many as

90 hours in weeks covered by this lawsuit. However, he was not properly paid overtime for all

hours worked in excess of 40 hours every week worked. Defendants knew that Plaintiff worked

in excess of 40 hours per week and allowed and directed him to do so. Plaintiff was paid a salary

for this work and not paid overtime pay for excessive hours or overtime work.

        18.     Plaintiff is entitled to receive overtime pay for all the hours worked in excess of

40 per workweek. Defendants were aware of the FLSA’s minimum wage and overtime

requirements and chose not to pay Plaintiff lawfully. Consequently, Defendants willfully

violated the FLSA by misclassifying Plaintiff as exempt and refusing to pay them overtime.

                       VI.    COLLECTIVE ACTION ALLEGATIONS

        19.     Plaintiff and Class Members performed the same or similar job duties as one

another as described in the preceding paragraphs in that Class Members were other employees

performing general safety related tasks for management, documenting accident scenes, and

presenting training classes developed by others. Further, Plaintiff and Class Members were

subjected to the same pay provisions in that they were paid under the same pay plan that paid

them primarily on a salaried basis and were not paid at time-and-one-half their regular rates of

pay for hours worked in excess of 40 hours in a workweek. Accordingly, Class Members

victimized by Defendants’ unlawful pattern and practices are similarly situated to Plaintiff in

terms of job duties and pay provisions.




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       20.    Defendants’ failure to pay overtime compensation at the rates required by the

FLSA results from generally applicable policies or practices and do not depend on the personal

circumstances of Class Members. Thus, Plaintiff’s experience is typical of the experience of

Class Members. All Class Members, regardless of their precise job requirements or rates of pay,

are entitled to overtime compensation for hours worked in excess of 40 hours per week.

Although the issue of damages may be individual in character, there is no detraction from the

common nucleus of liability facts. The questions of law and fact are common to Plaintiff and

Class Members.

       21.    Defendants knowingly, willfully, or with reckless disregard carried out their

illegal pattern or practice of failing to pay overtime and minimum compensation with respect to

Plaintiff and Class Members.

              VII. CAUSE OF ACTION: FAILURE TO PAY WAGES IN
             ACCORDANCE WITH THE FAIR LABOR STANDARDS ACT

       22.    During the relevant period, Defendants violated and are violating the provisions

of Sections 6 and 7 of the FLSA, 29 U.S.C. §§ 206-7, 215(a)(2), by employing employees in an

enterprise engaged in commerce or in the production of goods for commerce within the meaning

of the FLSA as aforementioned, for workweeks longer than 40 hours, without compensating

such employees for their work in excess of 40 hours per week at rates no less than one-and-a-half

times the regular rates for which they were employed. Defendants have acted willfully in failing

to pay Plaintiff and Class Members in accordance with the law.

                                  VIII. RELIEF SOUGHT

       23.    WHEREFORE, cause having been shown, Plaintiff pray for judgment against

Defendants as follows:




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         a.     For an Order pursuant to Section 16(b) of the FLSA finding Defendants liable for

unpaid back wages due to Plaintiff (and those who may join in the suit) and for liquidated

damages equal in amount to the unpaid compensation found due to Plaintiff (and those who may

join the suit); and

         b.     For an Order awarding Plaintiff (and those who may join in the suit) the costs of

this action;

         c.     For an Order awarding Plaintiff (and those who may join in the suit) attorneys’

fees;

         d.     For an Order awarding Plaintiff (and those who may join in the suit) pre-judgment

and post-judgment interest at the maximum rates allowed by law; and

         e.     For an Order granting such other and further relief as may be necessary and

appropriate.

                                                    Respectfully submitted,

                                                    /s/ J. Derek Braziel
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                                                   (469) 339-0204 fax
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                                                   ATTORNEYS FOR PLAINTIFF




                               CERTIFICATE OF SERVICE

       This is the Original Complaint. Service of this Complaint will be made on Defendants

with summons to be issued by the clerk according to the Federal Rules of Civil Procedure.



                                                   /s/ J. Derek Braziel
                                                   J. DEREK BRAZIEL




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